Nicholas J. Henderson, OSB No. 074027
Motschenbacher & Blattner, LLP
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Attorneys for Debtor Evergreen Vintage Aircraft, Inc.



                            UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF OREGON

                                                     Case No. 14-36770-rld11
In re:
                                                     NOTICE OF INTENT TO TRANSFER
EVERGREEN VINTAGE AIRCRAFT, INC.

                        Debtor.

         Debtor Evergreen Vintage Aircraft, Inc., hereby provides notice that it intends to transfer

its interest in the Beech Bonanza 35, D-1111 with registration number N3870N (the “Aircraft”)

to the Evergreen Aviation and Space Museum and The Captain Michael King Smith Education

Institute (the “Museum”) twenty one (21) days after the service date below.

         Details of the transfers are as follows:

         1.     On June 15, 2015, the Court entered an Order Approving (1) Proposed Global

Settlement; and (2) Sale of Debtor’s Real and Personal Property Free & Clear of Liens (See

Docket #118).

         2.     During closing of the transaction approved by the Court’s Order, it was

discovered that the Federal Aviation Administration’s (the “FAA”) registration records indicate

that Debtor is the registered owner of the Aircraft.




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Page 1 – NOTICE OF INTENT TO TRANSFER                                               117 SW Taylor St., Suite 200
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        3.      The Aircraft was donated to the Museum on or about March 30, 2010 by Joe

Koller, Jr. At that time, the Museum delivered to Mr. Koller a receipt acknowledging the

donation of the Aircraft.

        4.      After the transfer to the Museum, a Bill of Sale listing the Debtor as owner of the

Aircraft was erroneously recorded with the FAA.

        5.      The Debtor has always understood the Aircraft to be legally owned by the

Museum. The Debtor holds no beneficial title, and apparently, based on the FAA records, holds

bare legal title as a result of an erroneous filing with the FAA.

        6.      In order to correct the FAA records to reflect the true ownership of the Aircraft,

the Debtor intends to transfer its interest in the Aircraft to the Museum twenty one (21) days

after the date of this notice.



YOU ARE FURTHER NOTIFIED that unless you file an objection to this notice no later

than 21 days after the service date, and set forth the specific grounds for the objection and

your relation to the case, with the clerk of the court at 1001 SW Fifth Avenue, Suite 700,

Portland, OR 97204, the undersigned will proceed to take the proposed action, or apply for

an order if required, without further notice or a hearing.



                                                      MOTSCHENBACHER & BLATTNER, LLP

Dated: July 14, 2015                                  /s/ Nicholas J. Henderson
                                                      Nicholas J. Henderson
                                                      nhenderson@portlaw.com
                                                      Telephone: (503) 417-0500
                                                      Facsimile: (503) 417-0501
                                                      Attorneys for Debtor



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Page 2 – NOTICE OF INTENT TO TRANSFER                                               117 SW Taylor St., Suite 200
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8
                                   UNITED STATES BANKRUPTCY COURT
9
                                          FOR THE DISTRICT OF OREGON
10

11
       In re:                                                Case No. 14-36770-rld11
12
       EVERGREEN VINTAGE AIRCRAFT, INC.                     CERTIFICATE OF SERVICE
13
                                Debtor.
14

15

16               I, Nicholas J. Henderson, hereby certify that on July 14, 2015, a full and true copy of the

17     foregoing NOTICE OF INTENT TO TRANSFER was served on all ECF Registered Parties,
18     and on all parties on the attached Exhibit “A” by causing a copy thereof to be placed in a sealed
19
       envelope, postage prepaid in the U.S. Mail at Portland, Oregon at their respective addresses as
20
       listed on the attached Exhibit “A.”
21
                 Dated: July 14, 2015.                 /s/ Nicholas J. Henderson
22                                                     Nicholas J. Henderson
23

24

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       1-                                                                            MOTSCHENBACHER & BLATTNER, LLP
PAGE            CERTIFICATE OF SERVICE                                                 117 SW Taylor Street, Suite 200
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                                                                                           Phone: (503) 417-0500
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                               Case 14-36770-rld11        Doc 125     Filed 07/14/15
Label Matrix for local noticing              Alfred T. Giuliano, Ch. 7 Trustee               CT Corp.
0979-3                                       Pachulski Stang Ziehl & Jones, LLP              388 State Street
Case 14-36770-rld11                          Attn:Bradford J. Sandler, John A. Morris        Suite 420
District of Oregon                           919 North Market St., 17th Floor                Salem, OR 97301-3581
Portland                                     Wilmington, DE 19801-3034
Tue Jul 14 15:48:10 PDT 2015
CT Corp.                                     Delford M. Smith                                Egan Gardens
PO Box 4349                                  1271 NE Hwy 99W                                 9805 River Rd.
Carol Stream, IL 60197-4349                  PMB 502                                         Salem, OR 97303-9737
                                             McMinnville, OR 97128-2720


Egan Gardens                                 Elizabeth Schwartz                              Evergreen Helicopters, Inc.
c/o Ellen Egan, Reg. Agent                   6312 SW Capitol Hwy, #175                       Alex I. Poust
2245 Ferry St. NE                            Portland, OR 97239-1938                         1211 SW 5th Avenue, Suite 1900
Salem, OR 97303                                                                              Portland, OR 97204-3719


Evergreen Vintage Aircraft, Inc.             OREN B HAKER                                    NICHOLAS J HENDERSON
1271 NE Hwy 99W, PMB 502                     900 SW 5th Ave #2600                            117 SW Taylor St #200
McMinnville, OR 97128-2720                   Portland, OR 97204-1229                         Portland, OR 97204-3029



IMAX Corporation                             IRS                                             James P. Laurick
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Mississauga, ONT L5K 1B1                     Philadelphia PA 19101-7346                      732 NW 19th Ave.
CANADA                                                                                       Portland, OR 97209-1302


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Portland, OR 97201-5682                      Seattle, WA 98101-2925


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Portland, OR 97258-2024                      Portland, OR 97205-3066                         Portland, OR 97208-3585



Miller Nash Graham & Dunn LLP                Oregon Secretary of State                       TERESA H PEARSON
c/o Teresa H. Pearson                        255 Capitol St., NE                             Miller Nash Graham & Dunn LLP
111 SW Fifth Avenue, #3400                   Salem, OR 97310-1389                            111 SW 5TH AVE #3400
Portland, OR 97204-3614                                                                      PORTLAND, OR 97204-3614


ALEX I POUST                                 Pacific Coast Bankers’ Bank                     Peter J. Keane
1211 SW 5th Ave #1600-1900                   c/o Wendell Kusnerus                            Alfred T. Giuliano, Ch. 7 Trustee for Ev
Portland, OR 97204-3735                      Davis Wright Tremaine LLP                       Giuliano, Miller & Co., LLC
                                             1300 SW Fifth Avenue, Suite 2400                140 Bradford Drive,
                                             Portland, OR 97201-5682                         West Berlin, NJ 08091-9216

AMIT D RANADE                                JOSEPH A SAKAY                                  BRADFORD J SANDLER
Hillis Clark Martin & Peterson P.S.          1221 2nd Ave #500                               Pachulski Stang Ziehl & Jones LLP
1221 2nd Ave #500                            Seattle, WA 98101-2989                          919 N. Market Street
Seattle, WA 98101-2925                                                                       17th Floor
                                                       Exhibit A - Page 1 of 2               Wilmington, DE 19801-3034
                                      Case 14-36770-rld11         Doc 125        Filed 07/14/15
TROY SEXTON                                           GRAHAM M SWEITZER                                    The Delford M. Smith Revocable Trust
Motschenbacher & Blattner LLP                         732 NW 19th Ave                                      1271 NE Hwy 99W
117 SW Taylor St                                      Portland, OR 97209-1302                              PMB 502
Suite 200                                                                                                  McMinnville, OR 97128-2720
Portland, OR 97204-3029

US Trustee, Portland                                  Umpqua Bank                                          Umpqua Bank
620 SW Main St #213                                   c/o Joseph A.G. Sakay                                Hillis Clark Martin & Peterson
Portland, OR 97205-3026                               1221 Second Avenue                                   Attn: Joseph A.G. Sakay
                                                      Suite 500                                            1221 Second Avenue, Suite 500
                                                      Seattle, WA 98101-2989                               Seattle, WA 98101-2925

Umpqua Bank                                           Ventures Acquisition Company, LLC                    Ventures Holdings, Inc.
PO Box 1820                                           1271 NE Hwy 99W                                      1271 NE Hwy 99W
Roseburg, OR 97470-0417                               PMB 502                                              PMB 502
                                                      McMinnville, OR 97128-2720                           McMinnville, OR 97128-2720


CAROLYN G WADE                                        BRITTA E WARREN                                      World Fuel Services, Inc.
Dept of Justice/Civil Enforce/Recovery                Black Helterline LLP                                 9800 NW 4th Street, Suite 400
1162 Court St NE                                      805 S.W. Broadway                                    Miami, FL 33178
Salem, OR 97301-4096                                  Suite 1900
                                                      Portland, OR 97205-3359

World Fuel Services, Inc.                             Yamhill County Tax Assessor                          Yamhill County Tax Collector
James P Laurick, Kilmer, Voorhees                     535 NE 5th Street                                    c/o Jeffrey C. Misley
732 NW 19th Ave                                       Room 42                                              Sussman Shank LLP
Portland, OR 97209-1302                               McMinnville, OR 97128-4504                           1000 SW Broadway, Suite 1400
                                                                                                           Portland, OR 97205-3089




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Alfred T. Giuliano, Chapter 7 Trustee for          (u)Erickson Helicopters, Inc. fka Evergreen H        (u)Evergreen Aviation and Space Museum and th




(u)Glen Del, LLC                                      (u)Steven Maier                                      (u)Miller Nash LLP




(u)Tina Saint Jane Stanley                            (u)Maria Stanley Smith                               (u)State of Oregon, Department of Justice




(u)Tina Stanley, as Trustee for the Grace Cat         (u)World Fuel Services, Inc.                         (u)Yamhill County



                                                                 Exhibit A - Page 2 of 2
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